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                                                    April 6, 2022


VIA ECF
Honorable Michael A. Hammer, U.S.M.J.
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

       Re:     Veronica Doe v. Rutgers, et al.
               Civil Action No. 21-20763 (ES) (MAH)

Dear Judge Hammer:

         Our firm represents Defendants Rutgers, The State University of New Jersey and Scott
Strother (collectively, “Defendants”) in this matter. We write to respectfully request a 30-day
adjournment of the scheduling conference scheduled for Monday, April 11, 2022. Plaintiff joins
in this request and has authorized us to represent same to the Court.

       Good cause exists for the requested adjournment. The Court entered a Text Order on
Tuesday, April 5, 2022 scheduling the Rule 16 Conference for Monday, April 11, 2022. (EFC
No. 16). The deadline for the parties to submit a joint discovery plan is Friday, April 8, 2022.
The parties respectfully submit they need more than three days to meet and confer on the joint
discovery plan and to complete their obligations under Rule 26(f). The additional time will assist
counsel in completing their obligations under the Federal Rules and in drafting the joint
discovery plan.

         The parties are available on May 10, 2022, May 11, 2022, and May 13, 2022 at a time
that is convenient for the Court.

       We thank the Court for its consideration and assistance. Naturally, if the Court has any
questions, we are available to respond at the Court’s convenience.

                                                    Respectfully submitted,

                                                    s/ Sean R. Kelly

                                                    SEAN R. KELLY

cc:    Counsel of Record (via ECF)
